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     Edward Jason Settle, Petitioner  v.  Delmar Lee Adolf, Katherine Anne Adolf, and Valley Grown Nursery Respondents No. 24SC55Supreme Court of Colorado, En BancDecember 9, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA382
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    